Case 1:14-cv-14176-ADB Document 421-213 Filed 06/15/18 Page 1 of 5




        EXHIBIT 213
What We Look For | Harvard College                                       Page 1 of 4
        Case 1:14-cv-14176-ADB Document 421-213 Filed 06/15/18 Page 2 of 5



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  Harvard College Admissions & Financial Aid                                                            




   What We Look For

   How Your Application is Considered                                 FACTS ABOUT FINANCIAL AID

   In our admissions process, we give careful, individual
   attention to each applicant. We seek to identify students
                                                                                $0
   who will be the best educators of one another and their            Amount that parents making less
                                                                      than $65,000 are expected
   professors—individuals who will inspire those around
                                                                      to contribute.
   them during their College years and beyond.
                                                                      Ninety percent of American families
   As we read and discuss your application, many questions
   will be on our minds. Some things we consider:                                  90
                                                                      would pay the same%    or less to
                                                                      send their children to Harvard as
                                                                      they would a state school.


   Growth and potential                                               See the facts   

    • Have you reached your maximum academic and
      personal potential?
                                                                      VISIT HARVARD
    • Have you been stretching yourself?

    • Have you been working to capacity in your academic
      pursuits, your full-time or part-time employment, or
      other areas?

    • Do you have reserve power to do more?
                                                                      Stroll through Harvard Yard,
    • How have you used your time?                                    ask Admissions staff all your
                                                                      questions, and feel the
    • Do you have initiative? Are you a self-starter? What
                                                                      warmth of the Harvard
      motivates you?                                                  community. See tour dates
                                                                      and times.




https://college.harvard.edu/admissions/application-process/what-we-look                         6/13/2018
What We Look For | Harvard College                                       Page 2 of 4
        Case 1:14-cv-14176-ADB Document 421-213 Filed 06/15/18 Page 3 of 5


    • Do you have a direction yet? What is it? If not, are you
                                                                      REQUEST INFORMATION
      exploring many things?
                                                                      Join our mailing list to learn
    • Where will you be in one, five, or 25 years? Will you           about the Harvard
      contribute something to those around you?                       College experience.

    • What sort of human being are you now? What sort of
      human being will you be in the future?
                                                                      ADMISSIONS BROCHURE


                                                                      Download a PDF of the
   Interests and activities                                           Harvard College Admissions
    • Do you care deeply about anything—intellectual?                 brochure .

      Extracurricular? Personal?

    • What have you learned from your interests? What
      have you done with your interests? How have you
      achieved results? With what success or failure? What
      have you learned as a result?

    • In terms of extracurricular, athletic, community, or
      family commitments, have you taken full advantage
      of opportunities?

    • What is the quality of your activities? Do you appear to
      have a genuine commitment or leadership role?

    • If you have not had much time in high school for
      extracurricular pursuits due to familial, work, or other
      obligations, what do you hope to explore at Harvard
      with your additional free time?



   Character and personality
    • What choices have you made for yourself? Why?

    • Are you a late bloomer?

    • How open are you to new ideas and people?

    • What about your maturity, character, leadership, self-
      confidence, warmth of personality, sense of humor,
      energy, concern for others, and grace under pressure?



https://college.harvard.edu/admissions/application-process/what-we-look                        6/13/2018
What We Look For | Harvard College                                       Page 3 of 4
        Case 1:14-cv-14176-ADB Document 421-213 Filed 06/15/18 Page 4 of 5



   Contribution to the Harvard community
    • Will you be able to stand up to the pressures and
      freedoms of College life?

    • Will you contribute something to Harvard and to your
      classmates? Will you benefit from your
      Harvard experience?

    • Would other students want to room with you, share a
      meal, be in a seminar together, be teammates, or
      collaborate in a closely knit extracurricular group?


   Our admissions process enables us to give deliberate and
   meticulous consideration of each applicant as a whole
   person. It is labor intensive, but permits extraordinary
   flexibility and the possibility of changing decisions
   virtually until the day the Admissions Committee mails
   them. This is especially important since we are always
   receiving new information about applicants.

   Of course, no process is perfect. Inevitably, some students
   who are not admitted will see great success, and even with
   a 97 to 98 percent graduation rate, some admitted
   students might have been better served at another
   institution. However, we do everything possible to make
   the best admissions decisions for each student.

   Two additional resources you may wish to review:

    • An overview of our admissions process in the New
      York Times

    • An essay by Helen Vendler, a beloved professor of
      English at Harvard and former member of the Faculty
      Standing Committee on Admissions




https://college.harvard.edu/admissions/application-process/what-we-look    6/13/2018
What We Look For | Harvard College                                       Page 4 of 4
        Case 1:14-cv-14176-ADB Document 421-213 Filed 06/15/18 Page 5 of 5


  COLLEGE QUICK LINKS

  Applicant Login                                 Contact Us
  Faculty of Arts & Sciences                      Harvard.edu
  Maps & Directions                               Registrar




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https://college.harvard.edu/admissions/application-process/what-we-look    6/13/2018
